                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                    NO. 5:19-CR-331-BO-2


 UNITED STATES OF AMERICA
                                                             UNOPPOSED MOTION
     v.                                                   TO CONTINUE SENTENCING

 DAMEON SHAE ADCOCK



       The defendant, Dameon Shae Adcock, by and through counsel, hereby moves the Court

to continue the sentencing hearing for thirty (30) days to the March 2020 term. In support of this

motion, Mr. Adcock states the following:

       1. On August 20, 2019, Mr. Adcock was named in a nine-count Indictment charging

           him with conspiracy to commit acts against the United States involving passport

           fraud, in violation of Title 18, United States Code, Section 1542; false statements on

           passport application and aggravated identity theft, in violation of Title 18, United

           States Code, Sections 1028A(a)(1), 1028A(c), 1542, and 2; and aiding and abetting

           fraud and misuse of visas, permits, and other documents, security fraud, in violation

           of Title 42, United States Code, Section 408(a)(7)(B).

       2. On August 26, 2019, the Court appointed the Office of the Federal Public Defender to

           represent Mr. Adcock. Defense counsel filed a Notice of Appearance on 28 August

           2019.

       3. On November 6, 2019, a Grand Jury in the United States District Court for the

           Middle District of Florida returned an Indictment against Mr. Adcock for False

           Declarations Before a Grand Jury, in violation of 18 U.S.C. §1623. On December 19,

           2019, the defendant had his initial appearance in the Middle District of Florida.


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4. The allegations that are the subject of the Indictment in the Middle District of Florida

   arise out of the same investigation and allegations that the defendant pled guilty to

   within the Eastern District of North Carolina on November 13, 2019. As these

   allegations arise from the same investigation, the parties have coordinated with

   defendant’s Florida counsel and the United States Attorney’s Office for the Middle

   District of Florida. All parties agree that it would conserve judicial resources by

   having plea and sentencing on the Indictment by the Middle District of Florida

   resolved within the Eastern District of North Carolina. Accordingly, the parties have

   initiated the process to have the matter transferred to this Court pursuant to Rule 20

   of the Fed. R. Crim Pro for plea and sentencing.

5. The undersigned requests a continuance to the sentencing hearing pending a Rule 20

   transfer hearing of a pending case in the Middle District of Florida.

6. The United States Attorney’s Office for the Middle District of Florida has requested

   at least 30 days to transfer the matter to this district.

7. The defendant has advised that he will plead guilty to the charges upon transfer and

   will accordingly move the court for expedited sentencing on that plea. As a Pre-

   Sentence Investigation has been initiated within this district, the defendant will waive

   any additional Pre-Sentence Investigation on the Middle District of Florida

   Indictment.

8. Defense counsel respectfully requests that the sentencing hearing be continued until

   the March 2020, term of Court.

9. Assistant United States Attorney Gabriel Diaz has been contacted and has no

   objection to a continuance of the sentencing hearing in this case.



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       10. This motion is made in good faith and not for purposes of delay. Neither the

           Government nor the Defendant would be prejudiced by the continuance sought

           herein.

       WHEREFORE, the Defendant respectfully requests that the sentencing in this matter be

continued accordingly to a date that the Court deems appropriate.

           Respectfully submitted this 16th day of January, 2020.

                                            G. ALAN DUBOIS
                                            Federal Public Defender

                                            /s/ Edward D. Gray
                                            EDWARD D. GRAY
                                            Assistant Federal Public Defender
                                            Attorney for Defendant
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                                            LR 57.1 Counsel Appointed




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served upon:

GABRIEL DIAZ
Assistant United States Attorney
Suite 800, Federal Building
310 New Bern Avenue
Raleigh, NC 27601-1461
caroline.webb@usdoj.gov

by electronically filing the foregoing with the Clerk of Court on 16 January 2020, using the
CM/ECF system which will send notification of such filing to the above.

       This the 16th day of January, 2020.

                                             /s/ Edward D. Gray
                                             EDWARD D. GRAY
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                                             Attorney for Defendant
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